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  IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
                        Dun & Bradstreet #611934746

UNITED STATES OF AMERICA )
 Delaware File # 2193946, Dun & Bradstreet # 052714196 )
                                                       )
          --                                           )   CASE NO. 21-CR-028 (APM)
                                                       )
                                                       )
:james beeks: ©,                                       )

         Accused.

                              Notice to Object to Joinder Motion.

         This notice to Object to join with the defendants in the Oath Keepers trials

are for the same reasons set forth by my original motion to sever that was never filed

but sent on 12/8/22 by email communication and certified mail return receipt

#70212720000110660169 received on 12/19/22 along with a notice of filing (see

attached).

         It was widely known at the time that the Oath Keepers were supposedly there

for security reasons and that was what my thoughts on what their intentions were on

that day. Furthermore, in the GOVERNMENTS’ (Delaware file #2193946 and Dun

& Bradstreet #052714196) original affidavit states that JAMES BEEKS © followed

Kelly Meggs on a Parler account which was inactive and there was no

communication whatsoever between i and the others mentioned beforehand or after

the event and now in this latest affidavit/motion it states that JAMES BEEKS ©

followed them on Twitter; which is it?
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      There is scant evidence that JAMES BEEKS © was part of any conspiracy as

even stated by the FBI (Dun & Bradstreet # 878865674) in Reuters article via

docs.House.gov (see attached) that there is scant evidence of a coordinated attack on

that day; and therefore i, man, require a stand-alone trial as i do not know these

people mentioned and have nothing to do with them except for a one-time payment.

      Therefore, i object to a joint trial and wish for a stand-lone ‘trial by jury’

according to the rules of the Common Law (7th Amendment of the Constitution for

the United States of America).


                                         Respectfully Submitted,



                                         ____/s/_James Delisco Beeks ©___
                                         James-Delisco:Beeks ©
                                         Sui Juris

                                         Filed by: Nicole Cubbage


                                         ________/s/_Nicole Cubbage________
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                                   Certificate of Service
I certify that a copy of the forgoing was filed electronically for all parties of record on
                               this3rd day of March, 2023
                                   ____/s/__________
                                     Nicole Cubbage
                           Standby Attorney for James Beeks
